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UNITED STATES DISTRICT COURT
DISTRICT OF ARIZONA
PHOENIX DIVISION

IN RE DMCA SUBPOENA TO : Case No.

MC-14-00042-PHX

DECLARATION OF
AARON M. MINC

I, Jason D. Hochman, declare and testify as follow:
1. Iam admitted to practice law in the State of Ohio. I represent John Giles (“Mr. Giles”).

2. On behalf of Mr. Giles, I am seeking a subpoena pursuant to 17 U.S.C. § 512(h) to obtain
information sufficient to identity of a person or entity who anonymously posted a
photograph to which Mr. Giles owns the copyrights to without permission on to
www.thedirty.com (“Anonymous User”).

3. I have a good faith belief, based on the facts known to me, that Anonymous User is
infringing on Mr. Giles’ intellectual property rights.

4. The purpose for which the subpoena is sought is to obtain the identity of alleged
infringers and the information obtained therefrom will only be used for the purpose of
protecting rights under 17 U.S.C. 101, et. seq.

5. I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct.
 

 

 

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Executed on June __, 2014.

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Aaron M. Minc, 0086718

STATE OF OHIO )
) ss.

COUNTY OF CUYAHOGA )

On June [7 , 2014, before me, personally appeared, Aaron M. Minc, personally
known to me and proved to me on the basis of satisfactory evidence to be the person whose name
is subscribed to the within instrument and acknowledged to me that he executed the same in his

authorized capacity, and that by his signature on the instrument, the person or entity upon behalf

of which the person acted, executed the instrument.

 
   
  
  

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S my hand and official seal a Eis : SUSAN A. OBOJSKI
May 10, 2015

NOTARY PUBLIC
NotaryPublig —// , =
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 ZSTATEOFOHIO

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My Commission Expires: eae acRS uyahoga County
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